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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY

 KATHLEEN TURNER,                             )     CASE NO. 5:21-cv-00317-DCR
                                              )
                Plaintiff,                    )     JUDGE DANNY C. REEVES
                                              )
 vs.                                          )
                                              )
 DISH NETWORK L.L.C., et al.,                 )
                                              )
                Defendants.
                                              )

                                 JOINT RULE 26(f) REPORT

       Pursuant to Federal Rule of Civil Procedure 26(f) and this Court’s April 27, 2022 Order, a

teleconference was held on May 2, 2022 by and between counsel for Plaintiff Kathleen Turner

(“Plaintiff”) and Defendant DISH Network L.L.C. (“Defendant”) (collectively, the “Parties”)

I.     THE COURT’S ORDER

       Pursuant to the Court’s Order, the Parties are required to disclose information and confer

on a discovery plan and file a joint statement with the Court no later than May 12, 2022.

II.    MATTERS TO BE DISCUSSED PURSUANT TO RULE 25(f)

       A.      Initial Disclosures

       The Parties agree that no changes should be made in the form or requirements for

disclosures under Rule 26(a). The parties agree that the initial disclosures shall be made on or

before May 17, 2022 by e-mail.

       B.      Discovery Plan

       Amend their pleadings and join additional parties: May 31, 2022

       Fact Discovery Deadline:                             August 29, 2022

       Plaintiff’s Expert Reports:                          September 15, 2022

       Defendant’s Expert Reports:                          September 30, 2022
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          Dispositive Motions:                                   October 15, 2022

          The Parties do not contemplate any issues regarding electronic discovery at this time. The

Parties will meet and confer about any other electronic formatting issues as necessary.

          The parties have agreed that Defendant will initially draft a Protective Order, which will

then finalized and submitted to the Court on or before May 31, 2022.

III.      ADDITIONAL CASE MANAGEMENT MATTERS

          Pursuant to the Court’s Order, the Parties also discussed the additional case management

matters set forth below.

      The Parties discussed the nature and basis of their claims and defenses and the possibilities for
       a prompt settlement or resolution of this case at the teleconference. The Parties believe
       resolution of this case may be aided by mediation after discovery is complete.

      The Parties estimate the probable length of trial to be two days. The Parties believe a trial date
       in March of 2023 would be mutually convenient and note that jury issues will be presented.

      The Parties do not desire a Scheduling Conference before the entry of a scheduling order.

      The Parties do not agree that the action may be referred to a United States Magistrate Judge
       for trial.

                                                     Respectfully submitted,


 Date: May 12, 2022                                      /s/ Christopher W. Goode
                                                         Christopher W. Goode (KBA 88425)
                                                         GOODE LAW OFFICE, PLLC
                                                         389 Elaine Drive
                                                         Lexington, Kentucky 40504
                                                         Telephone:     (859) 363-6688
                                                         Email:         cgoode@goodelawyers.com
                                                         Attorney for Plaintiff Kathleen Turner

                                                         /s/ Eric Larson Zalud
                                                         Eric Larson Zalud (pro hac vice)
                                                         Laura E. Kogan (pro hac vice)
                                                         BENESCH, FRIEDLANDER, COPLAN
                                                             & ARONOFF LLP
                                                         200 Public Square, Suite 2300



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                                          Cleveland, Ohio 44114-2378
                                          Telephone: (216) 363-4500
                                          Facsimile:    (216) 363-4588
                                          Email:        ezalud@beneschlaw.com
                                                        lkogan@beneschlaw.com

                                          William W. Allen
                                          GESS MATTINGLY & ATCHISON, PSC
                                          201 West Short Street, Suite 102
                                          Lexington, Kentucky 40507-1269
                                          Telephone:    (859) 252-9000
                                          Facsimile:    (859) 233-4269
                                          Email:        wallen@gmalaw.com

                                          Attorneys for Defendant DISH Network L.L.C.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 12, 2022 a copy of the foregoing Joint Rule 26(f) Report was

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing through

the Court’s system.

                                                       /s/ Eric L. Zalud
                                                       Eric Larson Zalud
                                                       Attorney for Defendant DISH Network L.L.C.




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